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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 ORAND L. COLLINS,

       Defendant.                                      Case No. 06-cr-30046-DRH
                                      ORDER

 HERNDON, District Judge:

             Before the Court is defendant Orand Collins’s Motion to Continue

 Sentencing (Doc. 65), which is currently set for February 9, 2007. As grounds,

 Defendant has informed the Court that his grandmother has recently passed away.

 As a result, Defendant’s mother will be in Nebraska to settle her mother’s affairs.

 This could take through the end of February to complete.

             Defendant wishes for his mother to be present in Court for his

 sentencing hearing and therefore seeks a continuance of at least one month from the

 currently scheduled hearing date. Therefore, the Court hereby GRANTS the Motion

 to Continue Sentencing (Doc. 65). The sentencing hearing for defendant Orand L.

 Collins is hereby rescheduled for Friday, June 1, 2007 at 1:30 p.m.

             IT IS SO ORDERED.

             Signed this 1st day of February, 2007.

                                                      /s/     David RHerndon
                                                      United States District Judge
